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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

      Plaintiff,

v.

RUDY SLACK, a/k/a ENOCH SMITH,

      Defendant.                                   Case No. 05-cr-30133-7-DRH


                                    ORDER

HERNDON, Chief Judge:

            On October 7, 2008, the Seventh Circuit Court of Appeals issued a

Mandate, in which it vacated and remanded defendant Rudy Slack’s sentence for

resentencing with this Court, in light of Kimbrough (Doc. 665). Pursuant to the

Seventh Circuit’s Mandate, the Court hereby REAPPOINTS attorney Thomas P.

Deaton, Jr., to serve as CJA counsel for defendant Slack in order to represent him

during his resentencing. 18 U.S.C. § 3006A(a). Further, the Court hereby sets

Slack’s resentencing hearing for Friday, February 6, 2009 at 9:30 a.m.

            IT IS SO ORDERED

            Signed this 30th day of December, 2008.


                                            /s/   DavidRHer|do|
                                            Chief Judge
                                            United States District Court
